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13

14                                     UNITED STATES DISTRICT COURT

15                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

16
     GOPRO, INC., a Delaware corporation,              Case No. 3:16-cv-16-01944 (SI)
17
                               Plaintiff,
18                                                     DECLARATION OF JOHN D.
                    v.                                 PRATT IN SUPPORT OF GOPRO’S
19                                                     REPLY RE MOTION FOR
     360HEROS, INC., a Delaware corporation,           SUMMARY JUDGMENT
20
                               Defendant.              Date:        November 3, 2017
21                                                     Time:        9:00 a.m.
                                                       Ctrm:        1, 17th Floor
22                                                                  Hon. Susan Illston

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     PRATT DECLARATION ISO GOPRO’S REPLY RE MOTION FOR SUMMARY JUDGMENT
     CASE NO. 3:16-CV-01944-SI
 1
             I, John D. Pratt, hereby declare and state:
 2
             1.      I am the Principal of Argos Forensic Engineering which is a company I founded in
 3
     June 2005 to provide product development support and litigation consulting. I provided a
 4
     Declaration in Support of GoPro’s Motion for Summary Judgment signed on September 15, 2017.
 5
     My CV and list of cases in which I have served as an expert are attached to that declaration.
 6
             2.      I have reviewed 360Heros’ opposition brief and exhibits 356 and 357 in support of
 7
     360Heros’ opposition brief. I analyzed 360Heros’ new infringement theories discussed in the
 8
     opposition brief and those two exhibits.
 9
             3.      I understand now that 360Heros argues that the Odyssey rig has “receptacles” in the
10
     area bounded by the wedge-shaped structures inside the Odyssey rig. I also understand that
11
     360Heros now argues that the “receptacles” have “an open” end because “each receptacle includes a
12
     corresponding camera lens portal [i.e., a lens hole] and camera portal [i.e., an I/O access hole].”
13
     Thus, it is my understanding that 360Heros identifies the “receptacle” as the area bounded by the
14
     wedge-shaped structures, the front face of the base plate, and the bottom of the base plate with the
15
     opening for the I/O port on the camera. There is nothing restraining the camera on the back side,
16
     thus the camera can move radially toward the center of the rig. Therefore, 360Heros’ new argument
17
     for “receptacle” does not hold a camera in place as required by the Court’s claim construction.
18
             4.      Attached as Exhibit A is a true and correct copy of a photograph I had taken of the
19
     GoPro Odyssey rig, showing the space behind the camera area which 360Heros says is the
20
     “receptacle.”
21
             5.      I make this declaration on my own personal knowledge, unless otherwise indicated.
22
     If called upon to testify regarding the accuracy of the information provided in my declaration, I
23
     could and would testify competently thereto. I reserve the right to amend or update this declaration
24
     based on any new information, claim constructions, or positions that may come to light due to this
25
     litigation.
26

27

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     PRATT DECLARATION ISO GOPRO’S REPLY RE FOR SUMMARY JUDGMENT
     CASE NO. 3:16-CV-01944-SI
                                                                                                 -1-
EXHIBIT A
